
THE COURT.
This is an appeal from the judgment and from an order denying the defendants’ motion for a new trial. The case is in all essential particulars identical with the cases entitled, San Pedro, Los Angeles &amp; Salt Lake Railroad Company v. Hamilton (L. A. No. 2539) and Hamilton v. San Pedro, Los Angeles &amp; Salt Lake Railroad Company (L. A. No. 2540), ante, p. 610, [119 Pac. 1073], which have been this day decided in Bank upon an opinion filed. Upon the authority of those cases and for the reasons given in the opinion aforesaid, the judgment and order herein appealed from are affirmed.
Hearing in Bank denied.
